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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA :
                         :
         v.              :                    Criminal No. 21-00178-APM
                         :
PETER SCHWARTZ           :
                         :
    Defendant.           :


               MOTION TO WITHDRAW AS COUNSEL

        COMES NOW, the Defendant, Peter Schwartz, by and through

appointed counsel, Michael E. Lawlor, and Nicholas G. Madiou, Brennan,

McKenna & Lawlor, Chtd., and hereby respectfully files this Motion to

withdraw as counsel for Mr. Schwartz. In support of this Motion, counsel

states the following.

        1.   Mr. Schwartz is charged in a fourteen-count criminal Indictment

for alleged offenses related to the incidents at the U.S. Capitol on January 6,

2021.

        2.   Undersigned counsel was appointed to represent Mr. Schwartz

pursuant to the Criminal Justice Act.

        3.   On July 26, 2021, Mr. John M. Pierce, Esq. entered his

appearance as newly retained counsel on behalf of Mr. Schwartz.

        4.   For this reason, undersigned counsel respectfully asks this Court


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to permit undersigned counsel to withdraw from the representation of Mr.

Schwartz.

      WHEREFORE, for the reasons            stated, undersigned counsel

respectfully asks this Honorable Court to grant this Motion, and strike the

appearance of Michael E. Lawlor and Nicholas G. Madiou.


                                     Respectfully submitted,

                                           /s/
                                     _____________________
                                     Michael E. Lawlor
                                     Nicholas G. Madiou
                                     Brennan, McKenna & Lawlor, Chtd.
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                     CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on July 28, 2021, a copy of the foregoing

was sent to the United States Attorney’s Office for the District of Columbia,

via ECF.

                                                /s/
                                            _____________________
                                            Nicholas G. Madiou




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